                      Case MDL No. 3089 Document 199-3 Filed 10/19/23 Page 1 of 63
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                                                       U.S. District Court
                                           District of New Jersey [LIVE] (Trenton)
                                    CIVIL DOCKET FOR CASE #: 3:23-cv-20816-GC-RLS


Lewis et al v. MCNEIL CONSUMER HEALTHCARE et al                                       Date Filed: 09/29/2023
Assigned to: Judge Georgette Castner                                                  Jury Demand: Plaintiff
Referred to: Magistrate Judge Rukhsanah L. Singh                                      Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity-(Citizenship)                                                Jurisdiction: Diversity
Plaintiff
THOMAS LEWIS                                                            represented by KATRINA CARROLL
an individual                                                                          LYNCH CARPENTER LLP
                                                                                       111 W. WASHINGTON, STE 1240
                                                                                       CHICAGO, IL 60602
                                                                                       312-750-1265
                                                                                       Email: katrina@lcllp.com
                                                                                       ATTORNEY TO BE NOTICED
Plaintiff
DENA FICHOT                                                             represented by KATRINA CARROLL
individually and on behalf of all others similarly                                     (See above for address)
situated                                                                               ATTORNEY TO BE NOTICED


V.
Defendant
MCNEIL CONSUMER HEALTHCARE
Defendant
KENVUE, INC.
Defendant
JOHNSON & JOHNSON CONSUMER , INC.
Defendant
JOHNSON & JOHNSON


Date Filed       # Docket Text
09/29/2023       1 COMPLAINT against JOHNSON & JOHNSON, JOHNSON & JOHNSON CONSUMER, INC., KENVUE, INC.,
                   MCNEIL CONSUMER HEALTHCARE ( Filing and Admin fee $ 402 receipt number ANJDC-14750332) with
                   JURY DEMAND, filed by Dena Fichot, Thomas Lewis. (Attachments: # 1 Civil Cover Sheet, # 2 Summons, # 3
                   Summons, # 4 Summons, # 5 Summons, # 6 Exhibit A, # 7 Exhibit B, # 8 Exhibit C, # 9 Exhibit D, # 10 Exhibit E)
                   (CARROLL, KATRINA) (Entered: 09/29/2023)
09/29/2023           Judge Georgette Castner and Magistrate Judge Rukhsanah L. Singh added. (jjc, ) (Entered: 10/02/2023)
10/02/2023           Notice of Judicial Preferences. Click here for the Judge's Individual Procedure Requirements. (jjc, ) (Entered:
                     10/02/2023)
10/02/2023           CLERK'S QUALITY CONTROL MESSAGE - Please be advised, pursuant to Fed. R. Civ. P. 7.1(a)(2), unless the
                     Court orders otherwise, in any action filed or removed to this Court, in which jurisdiction is based upon diversity
                     under 28 U.S.C. 1332(a), a party or intervenor must file a disclosure statement naming and identifying the
                     citizenship of every individual or entity whose citizenship is attributed to that party or intervenor. A party, intervenor
                     or proposed intervenor must file the disclosure statement with its first appearance, pleading, petition, motion,
                     response, or other request addressed to the Court. Click here to complete the Diversity Disclosure Statement, once
                     complete, file it using the event Diversity Disclosure Statement. (jjc, ) (Entered: 10/02/2023)
10/02/2023       2 SUMMONS ISSUED as to JOHNSON & JOHNSON, JOHNSON & JOHNSON CONSUMER, INC., KENVUE,
                   INC., MCNEIL CONSUMER HEALTHCARE. Attached is the official court Summons, please fill out Defendant
                 Case MDL No. 3089 Document 199-3 Filed 10/19/23 Page 2 of 63
               and Plaintiffs attorney information and serve. (jjc, ) (Entered: 10/02/2023)
10/16/2023   3 SUMMONS Returned Executed by DENA FICHOT, THOMAS LEWIS. KENVUE, INC. served on 10/5/2023,
               answer due 10/26/2023. (CARROLL, KATRINA) (Entered: 10/16/2023)
10/16/2023   4 SUMMONS Returned Executed by DENA FICHOT, THOMAS LEWIS. MCNEIL CONSUMER HEALTHCARE
               served on 10/5/2023, answer due 10/26/2023. (CARROLL, KATRINA) (Entered: 10/16/2023)
10/16/2023   5 SUMMONS Returned Executed by DENA FICHOT, THOMAS LEWIS. JOHNSON & JOHNSON served on
               10/5/2023, answer due 10/26/2023. (CARROLL, KATRINA) (Entered: 10/16/2023)
10/16/2023   6 SUMMONS Returned Executed by DENA FICHOT, THOMAS LEWIS. JOHNSON & JOHNSON CONSUMER,
               INC. served on 10/5/2023, answer due 10/26/2023. (CARROLL, KATRINA) (Entered: 10/16/2023)



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                                                                        3:23-cv-20816-GC-RLS Start
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Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                            09/29/23
                                               10/19/23
                                                      Page
                                                        Page
                                                           1 of3 61
                                                                 of 63
                                                                    PageID: 1




                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


THOMAS LEWIS, an individual;          Case No.
DENA FICHOT, an individual, and
on behalf of all others similarly
situated,
           Plaintiffs,
     v.                               CLASS ACTION COMPLAINT
                                      JURY TRIAL DEMANDED
JOHNSON & JOHNSON,
JOHNSON & JOHNSON
CONSUMER, INC, KENVUE, INC.,
and MCNEIL CONSUMER
HEALTHCARE, INC.,
           Defendants.




                                      1
    Case 3:23-cv-20816-GC-RLS
           Case MDL No. 3089 Document
                              Document199-3
                                       1 Filed
                                             Filed
                                                09/29/23
                                                   10/19/23
                                                          Page
                                                            Page
                                                               2 of4 61
                                                                     of 63
                                                                        PageID: 2




        Plaintiffs Thomas Lewis and Dena Fichot (collectively, “Plaintiffs”) bring this

class action complaint against Defendants Johnson and Johnson, Johnson and

Johnson Consumer Inc., Kenvue Inc., and McNeil Consumer Healthcare Inc.

(collectively, “Defendants”), individually and on behalf of all others similarly

situated, and allege upon personal knowledge as to their acts and experiences, and,

as to all other matters, upon information and belief, including investigation

conducted by Plaintiff’s attorneys.

                                    NATURE OF THE ACTION

        1.       This is a consumer protection class action arising out of Defendants’

false and misleading advertising of its oral PE (“PE”) Products. 1

        2.        Defendants distribute, market and sell oral PE Products marketed as

nasal decongestants. Defendants represent and sell oral PE Products to provide

benefits for the indications specified – to provide nasal congestion relief to all

consumers who ingest oral PE Products. The claimed nasal congestion health

benefits are the only reason a consumer would purchase oral PE Products.

Defendants’ advertising claims, however, are false, misleading, and reasonably

likely to deceive the public.




1
 This Complaint does not include intranasally or topically administered PE products. As referenced in this
Complaint, “oral phenylephrine (“PE”) products” mean PE products administered orally in either tablet or liquid
form.

                                                         2
 Case 3:23-cv-20816-GC-RLS
        Case MDL No. 3089 Document
                           Document199-3
                                    1 Filed
                                          Filed
                                             09/29/23
                                                10/19/23
                                                       Page
                                                         Page
                                                            3 of5 61
                                                                  of 63
                                                                     PageID: 3




      3.     Each of the oral PE Products at issue in Defendants’ cold relief product

lines, through their labeling and packaging, and through Defendants’ other

advertising and marketing materials, communicate the same substantive message to

consumers: that oral PE Products provide meaningful nasal congestive relief health

benefits. Defendants convey this health message through extensive and uniform

nationwide marketing campaigns and product labeling through which Defendants

represent that oral PE Products provide “Powerful Congestion Relief” and assist

with nasal decongestion. Defendants further warrant that oral PE Products are the

“delivers fast relief for sinus headaches and sinus pain,” constituting an implied

advertising claim that the assertion is true and there is legitimate science

substantiating the nasal congestive relief health benefits. These representations are

designed to induce consumers to believe that Defendants’ oral PE Products are

capable of providing meaningful nasal congestion relief. These claims are a material

reason a consumer would purchase oral PE Products.

      4.     Defendants’ oral PE Products, however, are incapable of supporting or

providing nasal congestion health benefits because the ingredient in each of

Defendants’ oral PE Products at issue cannot support or benefit nasal decongestion.

Numerous well designed and well conducted scientific studies have been conducted

on the effects and efficacy of oral PE Products. These studies have demonstrated

that oral PE Products are ineffective in providing relief of nasal congestion because


                                         3
 Case 3:23-cv-20816-GC-RLS
        Case MDL No. 3089 Document
                           Document199-3
                                    1 Filed
                                          Filed
                                             09/29/23
                                                10/19/23
                                                       Page
                                                         Page
                                                            4 of6 61
                                                                  of 63
                                                                     PageID: 4




PE is too rapidly metabolized by individuals, which does not allow it to reach the

nostrils in time to provide relief. These studies apply to oral PE Products’ target

audience, which includes people with nasal congestion. Accordingly, Defendants’

nasal decongestion relief health representations are false, misleading, and deceptive,

and its oral PE Products are worthless.

       5.      Indeed, On September 12, 2023, a U.S. Food and Drug Administration

(“FDA”) advisory panel agreed, voting unanimously (16-0) that oral PE products are

not effective as a nasal decongestant. 2

       6.      Defendants have even conducted their own interim analysis in 2017-

2018 (and potentially multiple studies) on the efficacy of oral PE and it showed “no

benefit . . .. when compared with placebo.” 3 Despite knowing this information,

Defendants continued to market its oral PE Products as providing nasal congestion

relief health benefits, a knowingly false and misleading statement upon which

consumers, including Plaintiffs and class members, relied upon in purchasing

Defendants’ oral PE Products.




2
  Haley Weiss, With the Decongestant SNAFU, the FDA Tries Something New, TIME (Sept. 14, 2023),
https://time.com/6314120/fda-decongestant-phenylephrine-
decision/#:~:text=That%20changed%20on%20Sep.%2012,be%20pulled%20from%20stores%20altogether (last
accessed Sept. 22, 2023).
3
  U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT (Sept. 12, 2023),
https://www.fda.gov/media/171915/download.

                                                  4
 Case 3:23-cv-20816-GC-RLS
        Case MDL No. 3089 Document
                           Document199-3
                                    1 Filed
                                          Filed
                                             09/29/23
                                                10/19/23
                                                       Page
                                                         Page
                                                            5 of7 61
                                                                  of 63
                                                                     PageID: 5




      7.      Plaintiffs bring this action individually and on behalf of all other

similarly situated consumers to obtain redress for those who have purchased

Defendants’ oral PE Products at issue.

                           JURISDICTION AND VENUE

      8.      The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2)

because the matter in controversy, exclusive of interest and costs, exceeds the sum

or value of $5,000,000 and is a class action in which there are in excess of 100 class

members, and some of the members of the class are citizens of states different from

Defendants.

      9.      This Court has personal jurisdiction over Defendants because

Defendants (outside of McNeil) are incorporated and have their principal place of

business in New Jersey.

      10.     Further, Defendants, including McNeil, have marketed, promoted,

distributed, and sold the oral PE Products at issue in New Jersey, rendering exercise

of jurisdiction by New Jersey courts permissible.

      11.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)

because a substantial part of the events and omissions giving rise to Plaintiff’s claims

occurred in this district. Venue also is proper under 18 U.S.C. § 1965(a) because

Defendants transact substantial business in this district.



                                           5
 Case 3:23-cv-20816-GC-RLS
        Case MDL No. 3089 Document
                           Document199-3
                                    1 Filed
                                          Filed
                                             09/29/23
                                                10/19/23
                                                       Page
                                                         Page
                                                            6 of8 61
                                                                  of 63
                                                                     PageID: 6




                                     PARTIES

      12.    Plaintiff Thomas Lewis is a citizen of California, and at all times

relevant to this action, resided in Fresno County, California at 722 West Escalon

Avenue, 93612. Plaintiff Lewis saw Defendant’s representations by reading the label

of “Tylenol Sinus + Headache Non-Drowsy Daytime Caplets” packages at Walmart

locations in Fresno and Clovis, California during the class period. In reliance on the

claims at issue made on the label, Plaintiff Lewis purchased the Tylenol product on

several occasions from 2014 to 2020. By purchasing the deceptively advertised

product, Plaintiff Lewis suffered injury-in-fact and lost money because oral Tylenol

containing PE does not provide the promised benefits. Had Plaintiff Lewis known

the truth about Defendants’ advertisements at the time of his purchases, he would

not have purchased oral Tylenol containing PE. Plaintiff Lewis continues to desire

to purchase a nasal decongestant product and believes he would purchase a nasal

decongestant if it worked as advertised. However, as a result of Defendants’ ongoing

false advertising, Plaintiff Lewis will be unable to rely on the advertising when

deciding in the future whether to purchase oral Tylenol containing PE.

      13.    Plaintiff Dena Fichot is a citizen of the state of New Jersey, and at all

times relevant to this action, resided in Monmouth County, New Jersey. Plaintiff

Fichot saw Defendants’ representations by reading the label of “Tylenol Sinus +

Headache Non-Drowsy Daytime Caplets” package at a ShopRite in Howell

                                          6
 Case 3:23-cv-20816-GC-RLS
        Case MDL No. 3089 Document
                           Document199-3
                                    1 Filed
                                          Filed
                                             09/29/23
                                                10/19/23
                                                       Page
                                                         Page
                                                            7 of9 61
                                                                  of 63
                                                                     PageID: 7




Township, New Jersey during the class period. In reliance on the claims at issue

made on the label, Plaintiff Fichot purchased oral Tylenol containing PE on several

occasions at the ShopRite retail store located at 4594 US-9, Howell Township, NJ

07731. By purchasing the deceptively advertised product, Plaintiff Fichot suffered

injury-in-fact and lost money because oral Tylenol containing PE does not provide

the promised benefits. Had Plaintiff Fichot known the truth about Defendants’

advertisements at the time of his purchases, she would not have purchased oral

Tylenol containing PE. Plaintiff Fichot continues to desire to purchase a nasal

decongestant product and believes she would purchase a nasal decongestant if it

worked as advertised. However, as a result of Defendants’ ongoing false advertising,

Plaintiff Fichot will be unable to rely on the advertising when deciding in the future

whether to purchase oral Tylenol containing PE.

      14.    Defendant Johnson & Johnson is a New Jersey corporation with its

principal place of business located at 1 Johnson & Johnson Plaza, New Brunswick,

New Jersey 08933. Johnson & Johnson manufactures, advertises, markets,

distributes, and sells oral Tylenol containing PE Products to hundreds of thousands

of consumers throughout the United States. Defendant’s principal business is

research and development, manufacturing, and sales of a broad range of products in

the health care field. Defendant is a global leader in the health care market with sales

of over $95 billion last year.


                                           7
 Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                           Document
                                  199-3
                                    1 Filed
                                         Filed
                                             09/29/23
                                               10/19/23Page
                                                         Page
                                                            8 of
                                                              1061
                                                                 of PageID:
                                                                    63      8




        15.      Defendant Johnson & Johnson Consumer, Inc., a McNeil Consumer

Healthcare Division, is a New Jersey corporation with its headquarters and principal

place of business at 199 Grandview Road, Skillman, New Jersey, 08558. Johnson &

Johnson Consumer, Inc., markets, sells, and distributes oral Tylenol containing PE

globally, including in New Jersey.

        16.      Defendant Kenvue, Inc., is a New Jersey corporation with its principal

place of business located at 199 Grandview Road, Skillman, New Jersey 08558.

Kenvue, Inc., markets, sells, and distributes oral Tylenol containing PE globally,

including in New Jersey.

        17.      Defendant McNeil Consumer Healthcare, Inc. is a Pennsylvania

corporation with its principal place of business and headquarters located at 7050

Camp Hill Road, Fort Washington, Pennsylvania 19034. McNeil Consumer

Healthcare markets, sells, and distributes oral Tylenol containing PE globally,

including in New Jersey.

                             FACTUAL ALLEGATIONS
   I.         Defendants’ PE Products
        18.     Defendants sell oral Tylenol containing PE Products through its

website, www.tylenol.com, and through various retail stores, including, but not

limited to, Walgreens, CVS, Walmart, Rite Aid, and Target. Defendants’ oral PE

Products are sold both online and at physical retail outlets.



                                            8
    Case 3:23-cv-20816-GC-RLS
          Case MDL No. 3089 Document
                              Document
                                     199-3
                                       1 Filed
                                            Filed
                                                09/29/23
                                                  10/19/23Page
                                                            Page
                                                               9 of
                                                                 1161
                                                                    of PageID:
                                                                       63      9




        19.      Defendants’ oral Tylenol containing PE products at issue (collectively,

the “Products”) include, but are not limited to:

                             i.    Children’s TYLENOL® Cold + Flu Liquid
                             Medicine
                             ii.   TYLENOL® Sinus + Headache Non-Drowsy
                             Daytime Caplets
                             iii. TYLENOL® Cold + Flu Severe Medicine
                             iv.   TYLENOL® Cold + Flu Severe For Day And Night
                             Time
                             v.    TYLENOL® Sinus Severe Daytime Pain Reliever
                             vi.   TYLENOL® Cold + Flu Severe Day Liquid
                             vii. TYLENOL® Cold + Flu + Cough Nighttime Liquid
        20.      Oral Tylenol containing PE Products contain anywhere from 2.5mg-

10mg of PE per serving.

        21.      Defendants market oral Tylenol containing PE Products to provide the

purported health benefit of nasal congestion relief. Nasal congestion is a symptom

of allergies, hay fever, and the common cold. These symptoms are also connected

with several other conditions, including nasal polyps, deviated nasal septum, cystic

fibrosis, HIV, and other immune system-related diseases.4 A consumer research

study found that there has been a rise in purchases of nasal decongestants since the

start of the Covid-19 pandemic. 5 According to a consumer analysis by Profitero,




4
  Chronic sinusitis, Mayo Clinic (Sept. 19, 2023), https://www.mayoclinic.org/diseases-conditions/chronic-
sinusitis/symptoms-causes/syc-20351661.
5
  Cold And Flu Sales On Amazon To Reach Record Highs In 2022, Profitero (Jan. 25, 2022),
https://www.profitero.com/blog/cold-and-flu-sales-on-amazon-2022.

                                                         9
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           10 of
                                                              1261
                                                                 of PageID:
                                                                    63      10




searches for cold and flu medicine exploded at the onset of the pandemic in early

2020. 6

        22.     According to the FDA, estimates of 2022 retail sales data show an

estimated 242 million over-the-counter (“OTC”) cough, cold, and allergy oral

products containing PE were sold from retail stores, representing approximately

$1.763 billion in sales. 7

        23.     PE is a specific alpha-1 adrenergic receptor agonist that works as a

nasal decongestant by temporarily constricting blood vessels.8 However, a recent

advisory panel brief to the FDA has confirmed that orally administered PE at

monographed dosages is not effective as a decongestant.9 In other words, oral

Tylenol containing PE Products’ active ingredient for nasal decongestion is

worthless and does not provide the health benefits claimed by Defendants.

        24.     Because nasal congestion is associated with a large range of conditions,

many people purchase OTC cold medicine containing oral PE Products without any

formal medical diagnosis. Knowing this, to induce consumers (including Plaintiffs

and Class Members) to purchase its oral PE products, Defendants advertise through




6
  Id.
7
  U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 68 (Sept. 12, 2023),
https://www.fda.gov/media/171915/download.
8
  Id. at 13.
9
  Id. at 9.

                                                   10
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           11 of
                                                              1361
                                                                 of PageID:
                                                                    63      11




its messaging that oral Tylenol containing PE Products provide maximum-strength

nasal congestion relief.

In addition to the fact that Oral PE products do not provide their indicated health

benefits, oral PE products also have side effects, including anxiety, nervousness,

headache, trouble sleeping, heart palpitations, increased blood pressure and possible

allergic reactions. 10

     II.         Defendants’ False and Deceptive Advertising
           25.      Defendants market their products at all major pharmaceutical retailers

and through television and internet advertisements, along with a Tylenol-specific

website. Based on well-conducted consumer research, Defendants have finely honed

their package labeling to ensure their oral PE products are a household product by

promising to relieve nasal congestion symptoms associated with the common cold

or flu.

           26.      Beginning with the package label for oral Tylenol containing PE

Products and reinforced through other advertisements, Defendants convey to

consumers that its oral Tylenol containing PE Products will provide nasal congestion

health benefits for anyone who takes oral Tylenol PE Products.




10
  Q&A: As FDA panel deems decongestants ineffective, experts discuss impact on allergy care, healio.com (Sept.
22, 2023), https://www.healio.com/news/allergy-asthma/20230922/qa-as-fda-panel-deems-decongestants-
ineffective-experts-discuss-impact-on-allergy-care.

                                                       11
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           12 of
                                                              1461
                                                                 of PageID:
                                                                    63      12




      27.     The front panels of the packaging for all oral Tylenol containing PE

Products are materially the same and communicate the same implied advertising

message. Reinforcing that message, on the front label, immediately below

“TYLENOL®,” is printed prominently and in all caps, SINUS HEADACHE,”

“SINUS PRESSURE” and “NASAL CONGESTION.” Among other things, this

statement conveys the implied message that consumption of oral Tylenol containing

PE Products can provide the health benefits of relief from sinus pressure and nasal

congestion.

      28.     An example of the front label for an Oral Tylenol containing PE

Product appears as follows:




                                        12
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           13 of
                                                              1561
                                                                 of PageID:
                                                                    63      13




            29.     To reinforce the nasal decongestant message, Defendants repeats

similar claims about cold and flu symptoms throughout its packaging and marketing,

including that TYLENOL® “delivers fast relief for sinus headaches and sinus

pain.”11

            30.     To add credibility to the advertising, Defendants provide consumers

with an additional “reason to believe” the nasal decongestant message. Providing a

“reason to believe” advertising is a key psychological component to successful

advertising. A “reason to believe” offered by Defendants is that oral Tylenol

containing PE products provides “powerful congestion relief.” This message

misleadingly promotes Defendants’ oral Tylenol containing PE Products as having

decongestion benefits, despite the fact that this claim is clearly false.




11
     https://www.tylenol.com/products/tylenol-sinus-headache-daytime-caplets.

                                                          13
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           14 of
                                                              1661
                                                                 of PageID:
                                                                    63      14




       31.   Nasal congestion can be felt in the forehead, nose, and sides of the

nose. Knowing this, Defendants advertise oral Tylenol containing PE Products with

a graphic of a face with the nose area highlighted and elements above the head in a

distinct color to communicate to consumers that communicate to consumers that oral

Tylenol containing PE Products will relieve provide “powerful relief” in those areas.

The advertising graphic is as follows:




III.   The FDA Finds Orally Administered PE Products Are Not Effective Nasal
Decongestants Based on Scientific Studies

                                         14
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           15 of
                                                              1761
                                                                 of PageID:
                                                                    63      15




       32.      Despite Defendants’ representations, an advisory panel to the FDA has

found that orally administered PE — as is used in Defendants’ Products — is not an

effective treatment for nasal congestion. 12

       33.      On September 12, 2023, the FDA published the Non-Prescription Drug

Advisory Committee (“NDAC”) Briefing Document (the “FDA Briefing”), which

outlined the NDAC’s findings and analysis supporting its conclusion that oral PE is

not effective as a nasal decongestant.13 The FDA Briefing detailed the NDAC’s

analysis of all the relevant scientific support of the efficacy of oral PE and the history

of PE’s approval by the FDA. The NDAC’s extensive examination included an

analysis of the following: (1) the fourteen original clinical trials that were the basis

for the FDA’s approval of PE, (2) the 2007 Citizen’s Petition, (3) the 2007 NDAC

meeting and two meta-analyses presented there, (4) bioavailability data which

demonstrated that less than one percent (<1%) of an oral dose of PE is systemically

available, (5) two Environmental Exposure Unit (“EEU”) studies, (6) three modern

clinical studies done since the 2007 NDAC meeting, and (7) the 2015 Citizen’s

Petition.14 After reviewing this voluminous scientific evidence, the NDAC

concluded that orally administrated PE is not an effective treatment for nasal

congestion, and that oral PE usage for treatment of congestion has no scientific


12
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 9 (2023),
https://www.fda.gov/media/171915/download.
13
   Id.
14
   Id. at 8.

                                                 15
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           16 of
                                                              1861
                                                                 of PageID:
                                                                    63      16




merit. 15 The NDAC voted 16-0 “that scientific evidence doesn’t prove that the nasal

decongestant is effective when taken orally at recommended doses.”16

                                         Introduction to PE
        34.      PE is a specific alpha-1 adrenergic receptor agonist. 17 PE can be used

in both single ingredient and combination products, so long as the combination

products comply with the FDA’s list of permitted combinations. There are two forms

of PE discussed by the NDAC: (1) orally administered phenylephrine hydrochloride

(“PEH”), and (2) phenylephrine bitartrate (“PEB”).

        35.      Alpha-1 adrenergic agonists, such as PE, pseudoephedrine (“PSE”)

and phenylpropanolamine (“PPA”) can temporarily constrict the blood vessels in the

nasal passages and reduce swelling in the sinuses and nose as a result. 18

        36.      However, extensive scientific studies have shown that orally

administered PE, such as when taken in a tablet or a syrup form, is not effective at

providing nasal congestion relief benefits. The NDAC agreed, stating “we have now

come to the initial conclusion that orally administered PE is not effective as a nasal

decongestant at the monographed dosage (10 mg of PE hydrochloride every 4 hours)

as well as at doses up to 40 mg (dosed every 4 hours). 19

15
    Id. at 9.
16
   Cailley Lapara, Common Nasal Decongestant Doesn’t Actually Work, According to FDA Advisors, TIME,
https://time.com/6313449/nasal-decongestant-phenylephrine-efficacy-fda/ (last accessed Sept. 22, 2023).
 17
     U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 13 (2023),
https://www.fda.gov/media/171915/download.
18
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 13 (2023),
https://www.fda.gov/media/171915/download.
19
   Id. at 9.

                                                     16
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           17 of
                                                              1961
                                                                 of PageID:
                                                                    63      17




                                     Previous Approvals
       37.      In 1976, PE, PSE, and PPA were reviewed as possible over-the-counter

(“OTC”) products for nasal congestion treatment by the FDA. In 1994, PE, PSE, and

PPA were approved by the FDA, at their respective monograph dosages,20 and added

to the FDA’s Cough, Cold, Allergy, Bronchodilator, and Anti-Asthmatic Drug

Products (“CCABAP”) Final Monograph (the “Final Monograph,” “FM” or

“CCABAP Monograph”) for OTC nasal decongestant drug products.21 The

CCABAP Monograph regulates and provides a list of permitted nasal decongestants,

among other therapeutic classes of drugs. The FDA approved dosage of orally

administered PE was 10 mg.22

       38.      In 2000, PPA was removed from the market after it was found to cause

hemorrhagic       strokes    in    women.23      Additionally,       in   2006,     the   Combat

Methamphetamine Epidemic Act (“CMEA”) limited the availability of PSE by

requiring the sale of PSE products to “behind-the-counter” sales made only to people

with a prescription. 24 This restriction on OTC availability of PSE made by the

CMEA was a result of the use of PSE to illegally produce methamphetamine.25

       39.      Consequently, by 2006, PE became the only OTC oral decongestant

20
   A “monograph dosage” is the dosage of the drug the FDA has officially approved for use.
21
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 12 (2023),
https://www.fda.gov/media/171915/download.
22
   Id. at 9.
23
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 12 (2023),
https://www.fda.gov/media/171915/download.
24
   Id.
25
   Id.

                                                 17
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           18 of
                                                              2061
                                                                 of PageID:
                                                                    63      18




listed in the CCABAP Monograph as FDA approved for OTC sales. As a result,

manufacturers replaced or reformulated their PSE OTC oral decongestant products

to now be formulated with PE. This was done to maintain OTC availability of

products and reduce the new barrier to sales the CMEA created by requiring

consumers to purchase PSE products “behind-the-counter.”

       40.      However, there have been continuous concerns raised to the FDA by

the scientific community regarding the lack of scientific merit of the original clinical

studies done in 1976 that formed the basis for the FDA’s approval of orally

administered PE. These concerns have been expressed and reviewed by FDA

advisory panels by virtue of a 2007 Citizen’s Petition, a 2007 Non-Prescription Drug

Advisory Committee (“NDAC”) Meeting, a 2015 Citizen’s Petition, and a 2023

NDAC Meeting. 26 After the 2023 NDAC meeting, the FDA advisory panel voted

16-0 on September 12, 2023 that oral PE is not an effective treatment for nasal

congestion.27

                          Summary of the FDA Review Process
       41.     The 1972 Kefauver-Harris Amendment to the Food, Drug, and

Cosmetic Act requires drug manufacturers provide proof of the effectiveness and

safety of their drugs before FDA approval. 28 The FDA’s administrative process on


26
   Id.
27
   Id.
28
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 11 (2023),
https://www.fda.gov/media/171915/download.

                                                 18
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           19 of
                                                              2161
                                                                 of PageID:
                                                                    63      19




reviewing OTC drugs 29 involves convening an Advisory Panel to review data

relating to claims and active ingredients. 30 The Advisory Panel’s reports and

comments are published in the Federal Registrar as Advanced Notice(s) of Proposed

Rulemaking (“ANPR” or “Proposed Rules”) which, after FDA review, are published

in a Tentative Final Monograph (“TFM”) for each therapeutic class of drugs.31 Each

TFM establishes the conditions under which an ingredient within a drug class, or

permitted combination of ingredients, is considered to be Category I “generally

recognized as safe and effective” (“GRASE”).32 The final step is the publication of

a Final Monograph (“FM”) for each class of drugs, which provides a list of permitted

ingredients, and ingredient combinations, along with required labeling, dosing, and

marketing requirements. 33 Drugs manufactured and marketed in accordance with the

FM requirements are considered GRASE. 34 This process allows for the FDA to

amend the FM in response to a Citizen’s Petition (“CP”).

        42.       Inclusion of ingredients, including PE, in the CCABAP Monograph

was based on recommendations made by an Advisory Review Panel on Over-the-

Counter Cold, Cough, Allergy, Bronchodilator, and Anti-asthmatic Products (“the


29
   The FDA’s administrative review process for OTC drugs is often referred to as the Drug Efficacy Study
Implementation (“DESI”) process.
30
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 11 (2023),
https://www.fda.gov/media/171915/download.
31
   Id.
32
   Id.
33
   Id.
34
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 11 (2023),
https://www.fda.gov/media/171915/download.

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Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           20 of
                                                              2261
                                                                 of PageID:
                                                                    63      20




“Panel” or the “Cough-Cold Panel”).35 The Panel was convened by the National

Academy of Sciences / National Research Council, on behalf of the FDA, to review

and provide recommendations to the FDA regarding the safety and efficacy of

therapeutic groups of products, including PE. 36 The FDA published the Panel’s

recommendations as a Proposed Rule (ANPR) in 1976 and issued the CCABAP

TFM in segments between 1982 and 1988. 37 The CCABAP Final Monograph for

nasal decongestants was published in 1994. 38

        43.      The Advisory Panel first reviewed PEH for OTC use as a nasal

decongestant in 1976. The Agency then published the Panel’s findings in the Federal

Registrar as a Proposed Rule, and the CCABAP FM, which included PEH, was

published in 1994.39 The CCABAP FM classified PEH as a GRASE nasal

decongestant when administered intranasally 40 or when administered orally. 41

        44.      In 2004, the FDA issued a Proposed Rule to add PEB as a GRASE

OTC oral treatment for nasal decongestion in response to a drug manufacturer’s

Citizen Petition citing pharmacokinetic (“PK”) data which represented PEB had

similar bioavailability to PEH. 42 PEB is an immediate release (“IR”) orally

35
    Id. at 12.
36
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 11 (2023),
https://www.fda.gov/media/171915/download.
37
    Id.
38
    Id. at 11-12.
39
    Id. at 15.
40
   i.e. when the drug is applied directly into the nose, such as with a nasal spray or topical cream.
41
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 13 (2023),
https://www.fda.gov/media/171915/download.
42
    Id.

                                                     20
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           21 of
                                                              2361
                                                                 of PageID:
                                                                    63      21




administered effervescent tablet form of PE. 43 In 2006, the FDA issued a Final

Ruling which amended the CCABAP FM and added PEB as GRASE. 44

       45.      Amendments to the FM were rarely done until the passage of the

Coronavirus, Aid, Relief, and Economic Security Act (“CARES Act”) in 2020.45

The CARES Act created an updated administrative order process and authority for

the FDA to issue, revise, and amend monographs, which simplified making any

contemplated changes. 46 Additionally, the CARES Act also required the FDA to

report to Congress yearly on the status of GRASE determinations or revisions to the

CCABAP Monograph, and specifically required updates on any pediatric dosage

issues.47

       46.      Since the CCABAP Monograph’s pediatric PE dosage was based on

adult data and dosages for PE, and also since the FDA had recently received a 2015

Citizen’s Petition containing concerns with the scientific merits and validity of the

adult PE data, the new pediatric requirement in the CARES Act prompted FDA’s

2023 reevaluation of the effectiveness of oral PE as a treatment for nasal




43
    Id.
44
    Id.
45
   See U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 13 (2023),
https://www.fda.gov/media/171915/download; see also https://www.govinfo.gov/content/pkg/COMPS-
15754/pdf/COMPS-15754.pdf.
46
    See U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 13 (2023),
https://www.fda.gov/media/171915/download; see also https://www.govinfo.gov/content/pkg/COMPS-
15754/pdf/COMPS-15754.pdf.
47
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 13 (2023),
https://www.fda.gov/media/171915/download.

                                                 21
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           22 of
                                                              2461
                                                                 of PageID:
                                                                    63      22




congestion.48

       47.      On September 12, 2023, the NDAC voted 16-0 that orally administered

PE is not effective as a treatment for nasal congestion.49

       48.      The NDAC stated:

               The new data appear compelling that the monographed dosage
               of oral PE results in no meaningful systemic exposure or
               evidence of efficacy. Furthermore, the review suggests that
               higher does . . . have also not shown efficacy. These findings are
               supported by in vitro and in vivo clinical pharmacology data
               showing that orally administered phenylephrine undergoes high
               first-pass metabolism resulting in less than 1% bioavailability.50

The NDAC also stated that “studying higher doses would not be a viable option”

because of dangerous rises in blood pressure associated with higher doses. 51

       49.      Specifically, the advisory panel to the FDA concluded:
               In accordance with the effectiveness standard for determining
               that a category of over-the-counter (OTC) drugs is generally
               recognized as safe and effective that is set forth in 21 CFR §
               330.10(a)(4)(ii), which defines effectiveness as: “a reasonable
               expectation that, in a significant proportion of the target
               population, the pharmacological effect of the drug, when used
               under adequate directions for use and warnings against unsafe
               use, will provide clinically significant relief of the type claimed”,
               we have now come to the initial conclusion that orally
               administered PE is not effective as a nasal decongestant at the
               monographed dosage (10 mg of PE hydrochloride every 4

48
   Id. at 13.
49
   Haley Weiss, With the Decongestant SNAFU, the FDA Tries Something New, TIME (Sept. 14, 2023),
https://time.com/6314120/fda-decongestant-phenylephrine-
decision/#:~:text=That%20changed%20on%20Sep.%2012,be%20pulled%20from%20stores%20altogether (last
accessed Sept. 22, 2023).
50
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 14 (2023),
https://www.fda.gov/media/171915/download.
51
   Id.

                                                22
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           23 of
                                                              2561
                                                                 of PageID:
                                                                    63      23




                 hours) as well as at doses up to 40 mg (dosed every 4 hours).52
                 (emphasis added).

                         The Original Clinical Trials Reviewed by the FDA

        50.       The 1976 advisory panel’s initial evaluation of oral PEH in 1976

included a review of seventeen safety studies and fourteen effectiveness studies. 53

        51.       All fourteen effectiveness studies used a methodology, nasal airway

resistance (“NAR”), that is no longer used in modern medicine and that does not

meet the FDA’s current standards for FDA approval. 54 Thus, even if a study showed

that oral PE products were “effective” in 1976, they were based on a now invalid

methodology.55

        52.       Two of the fourteen studies evaluated by the advisory panel in 1976 on

oral PE did not provide evaluable efficacy information.56 Eleven of the fourteen

effectiveness studies were from a single manufacturer of PE products, Sterling-

Winthrop Labs (“Sterling-Winthrop”).57 These studies were small, single-center

crossover studies that had significant issues.


52
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 14 (2023),
https://www.fda.gov/media/171915/download.
53
   Id. at 15, 17.
54
   The 1976 studies measured the level of nasal congestion by using measurements of airflow and air pressure in the
nasal passage to calculate NAR as an indirect measure of the level of nasal congestion as their endpoint. However,
modern medicine no longer supports the NAR methodology, as science has evolved since these studies were
reviewed in 1976. As a result, NAR is no longer used to evaluate congestion in clinical trials, and the FDA now
recommends the use of nasal congestion symptom scores to evaluate congestion and other symptoms related to
allergic rhinitis.
55
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 17-18 (2023),
https://www.fda.gov/media/171915/download.
56
   Id.
57
   Id. at 18.

                                                        23
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           24 of
                                                              2661
                                                                 of PageID:
                                                                    63      24




       53.     Of the fourteen studies, half (seven) of the studies showed that oral PE

did not have measurable efficacy results.58 Six of the seven positive studies came

from Sterling-Winthrop and formed “a large part of the basis for the original Panel’s

recommendations” to approve oral PE. 59 Additionally, five of the six studies done

by Sterling-Winthrop were done in the same laboratory, Elizabeth Biochemical,

which the NDAC stated had “potential bias and data integrity issues.” 60

       54.      When the 1976 advisory panel requested public comment as part of

their review process, two comments of note argued that oral PE should not be

approved because the 1976 advisory panel based its decision on numerous

unpublished studies and that the studies considered were “split evenly between mild

successes and total failures,” and that a published study in a peer-reviewed journal

demonstrated no efficacy of oral PE; 61 the comments also included two references

which supported the notion that PE had no oral bioavailability.62

       55.      After the 1976 advisory panel’s review of these studies, the Panel

stated that the data was “not strongly indicative of efficacy.” 63 However, because the

other safety trials reviewed demonstrated no apparent safety concerns, because



58
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 18 (2023),
https://www.fda.gov/media/171915/download.
59
   Id.
60
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 32 (2023),
https://www.fda.gov/media/171915/download.
61
   Id. at 22.
62
   Id.
63
   Id.

                                                 24
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           25 of
                                                              2761
                                                                 of PageID:
                                                                    63      25




seven of the ten studies presented to the FDA were “positive,” and because the

scientific community did not yet know NAR was an ineffective measurement, the

Panel approved oral PE and it was published in the FM in 1994.64

          Meta-Analyses in 2007 Citizen’s Petition & 2007 NDAC Meeting
        56.       On February 1, 2007, Leslie Hendeles, PharmD, Randy C. Hatton,

PharmD, and Jonathan J. Schuster, PharmD, (“Petitioners”) filed a Citizen’s Petition

(“2007 Petition”) with the FDA requesting that the dosage of oral phenylephrine be

re-evaluated for patients over the age of 12 years old and that approval for use in

children under the age of 12 years old also be withdrawn. 65

        57.       The basis for this 2007 Petition was Petitioners’ systematic review and

meta-analysis of the aforementioned clinical studies considered by the Agency when

the FDA included oral PE in the FM for OTC nasal decongestant drug products, in

addition to the fact that there is no data on the safety of PE in children under the age

of 12 years old.66

        58.       Well-conducted meta-analyses are considered a higher level of

evidence than individual clinical trials as they provide a method to evaluate the

aggregated results of all relevant studies according to their pooled effects and

methodological quality.


64
    Id. at 23.
65
   Id. (citing Hendeles, Hatton & Winterstein, Citizen Petition — Phenylephrine,
https://www.regulations.gov/docket/FDA-2007-P-0108).
66
    Id.

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Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           26 of
                                                              2861
                                                                 of PageID:
                                                                    63      26




       59.      Petitioners obtained all the data used for these studies through the

 Freedom of Information Act (“FOIA”) and performed a meta-analysis of the data.67

 This meta-analysis resulted in a different conclusion than that of the original Cough-

 Cold Advisory Panel data, as it instead found that oral PE is not effective at the

 monographed dosages. 68

       60.      In response to the 2007 Petition, the FDA convened a NDAC

 Committee (“2007 NDAC”) on December 14, 2007.69 The 2007 NDAC reviewed

 the 2007 Petition and the associated meta-analysis performed by Petitioners.70 In

 addition, the 2007 NDAC attended a presentation done by Petitioners discussing

 the findings of their meta-analysis, and a presentation by the Consumer Healthcare

 Products Association (“CHPA”). CHPA, predictably, presented a second meta-

 analysis that they believed supported the findings of the original Panel to approve

 oral PE.71 The data presented in both meta-analyses was then reviewed and

 presented by an FDA statistician, who then discussed his findings with the 2007

 NDAC.72 Lastly, the Committee also attended presentations by several industry

 speakers from Scherling-Plough and Scheing-Plough Merck, who provided


67
   Id.
68
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 23 (2023),
https://www.fda.gov/media/171915/download.
69
   Id.
70
   Id.
71
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 23 (2023),
https://www.fda.gov/media/171915/download.
72
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 25-26 (2023),
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                                                 26
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           27 of
                                                              2961
                                                                 of PageID:
                                                                    63      27




 previously unpublished data that confirmed the proposition behind Petitioners’

 petition to withdraw PE from the FM — that oral PE is ineffective as a nasal

 decongestant. 73

       61.      In Petitioners’ presentation of their meta-analysis, they noted that the

data from one company, Elizabeth Biochemical, drove the majority of the Panel’s

original decision.74 Petitioners also noted that the studies done in other labs had not

only found no difference between the effects of oral PE and a placebo, but when they

did find any difference in effect, it was nowhere near the magnitude of the effect

reported by Elizabeth Biochemical; Petitioners therefore believed this indicated an

Elizabeth Biochemical reporting bias. 75 Petitioners also reviewed the literature and

several negative studies that supported the ineffectiveness of oral PE, which

provided further support to Petitioners’ conclusion that oral PE was ineffective. 76

        62. The industry presentations included two presentations by Schering-

 Plough and Schering-Plough Merck, which, the NDAC said “counterintuitively”

 presented data that supported Petitioners’ belief that the monograph approved dose

 of oral PE is not effective, and they argued that higher doses would be needed.77

 The NDAC notes that it appears these companies performed subsequent studies that



73
   Id. at 23.
74
   Id. at 23-24.
75
   Id.
76
   Id. at 24.
77
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 25-28 (2023),
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                                                 27
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           28 of
                                                              3061
                                                                 of PageID:
                                                                    63      28




 they “hoped” supported the efficacy of oral PE in higher monographed doses.78

 However, their studies showed that oral PE was not even effective at up to four-fold

 (40 mg) of the FDA monograph dose — the maximum dose that could be safely

 marketed.79 In other words, even recent industry participant studies show that Oral

 PE at its maximum possible safe dosage is not effective at providing nasal

 congestion relief health benefits.

        63.     John, O’Mullane, PhD, the Group Vice-President of Consumer

 Healthcare Research and Development at Schering-Plough, presented to the 2007

 NDAC data that showed 10 mg of oral PE is not “sufficient to provide efficacy.”80

       64.     The second presentation by Schering-Plough Merck reviewed the

findings from two studies published in 2009. Both studies showed that “PE failed to

provide any benefit over placebo.”81

       65.      Lastly, FDA statistician Dr. Stan Lin reviewed both sets of meta-

analyses and four unpublished studies from Wyeth Consumer Healthcare and

Schering-Plough and presented his conclusion to the Committee.82 Dr. Lin noted that

all of original studies used NAR as their primary clinical measure, which was

sufficiently problematic because the FDA no longer accepts it as a clinical


78
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 25-28 (2023),
https://www.fda.gov/media/171915/download.
79
    Id. at 26.
80
    Id.
81
   Id. at 28.
82
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 28 (2023),
https://www.fda.gov/media/171915/download.

                                                 28
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
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                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           29 of
                                                              3161
                                                                 of PageID:
                                                                    63      29




endpoint. 83 In summary, Dr. Lin noted that the small size, the lack of multicenter

representation, the lack of reproducibility, and the problematic nature of the

methodology used by the original studies suggest that the data reviewed by the

original Panel is not conclusive of PE efficacy.84

        66.     After the Committee’s review of all of the presented material, it noted

the inconsistent results, but due to the limitations of the data, nine of the twelve

Committee members voted to recommend that additional clinical data was necessary

before making any changes to the FDA’s stance on PE, including new studies needed

to evaluate the effect of higher doses of oral PE, new studies which do not use NAR

as an endpoint, along with other recommended design elements for future trials. 85

        67.      In response to the 2007 NDAC Meeting, the Agency’s Clinical

Pharmacology team reviewed all of the “new” bioavailability data (data that had

become available since the Agency’s original GRASE determination in 1994) and

confirmed that the actual oral bioavailability of PE is less than one percent

(<1%). 86 This effect was found to be due to the high-first pass metabolism effect

that occurs when PE is administered orally.87



83
   Id.
84
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 29 (2023),
https://www.fda.gov/media/171915/download.
85
   Id.
86
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 9 (2023),
https://www.fda.gov/media/171915/download (citing Hendeles & Hatton, Citizen Petition — Phenylephrine (2015),
https://www.regulations.gov/docket/FDA-2015-P-4131).
87
   Id.

                                                     29
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           30 of
                                                              3261
                                                                 of PageID:
                                                                    63      30




                                       2015 Citizen’s Petition
       68.      On November 4, 2015, Leslie Hendeles, PharmD, and Randy C.

Hatton, PharmD, FCCP, BCPS, filed a Citizen’s Petition (the “2015 Petition”) under

21 CFR Part 10.30 to request the removal of oral PE, both individually and in

combination drug products, from the FM for OTC nasal decongestant products, and

to remove phenylephrine bitartrate (“PEB”) from the 2006 Amendment to the FM.88

       69.      The 2015 Citizen’s Petition cited their previously filed 2007 Citizen’s

Petition which requested the dosage of oral PE be re-evaluated and the approval for

use in children under twelve years old be withdrawn.89

       70.      The 2015 Petition outlined the results of three new additional studies

performed and published since the 2007 NDAC meeting that presented evidence

which “provide further evidence of the absence of a decongestant effect from the

FDA-approved nonprescription dose of 10mg,” and showed that “PE was not

significantly different from placebo in the mean change in subjective nasal

congestion scores.”90

       71.      In response to the 2015 Citizen’s Petition, the American Academy of

Allergy, Asthma and Immunology also filed a letter with the FDA citing their


88
   Id.
89
   Id.
90
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 9 (2023),
https://www.fda.gov/media/171915/download.

                                                 30
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           31 of
                                                              3361
                                                                 of PageID:
                                                                    63      31




support of the 2015 Citizen’s Petition’s findings.91

                            The Three Modern Clinical Trials

       72.      Three large, adequately controlled, modern clinical trials have been

conducted on PE since the 2007 NDAC meeting.92 These three trials represent the

largest and most carefully conducted studies on the effects of oral PE.

       73.     In 2011, Merck (formerly Schering-Plough Pharmaceuticals),

conducted a multicenter, double-blind, placebo-controlled, multiple-dose crossover

Phase 2 parallel trial on 539 subjects with allergic rhinitis to evaluate the potential

for a higher than monographed dose of immediate-release PE up to 40 mg. 93 The

results of Merck’s trial demonstrated not only demonstrated no effect of a higher

than monographed dose of PE up to 40 mg, but also demonstrated no effect of orally

administered PE at any dosage. 94

       74.     Merck also conducted a Phase 3, multicenter, randomized, double-

blind, placebo-controlled, two-arm, parallel-group trial on 575 adult subjects with

pollen allergens to evaluate the effect of 30 mg of a modified-release formulation of

PEH. 95 This study was conducted in 2011, and later published in 2016 in a peer-

reviewed journal. The NDAC noted in its 2023 review that this study likely was an



91
   Id. at 8.
92
   Id. at 43.
93
   Id.
94
   Id.
95
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 48 (2023),
https://www.fda.gov/media/171915/download.

                                                 31
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           32 of
                                                              3461
                                                                 of PageID:
                                                                    63      32




attempt to support an application for an extended-release PE product at a higher than

monographed dose.96 However, the results of this study showed no statistically

meaningful difference in nasal symptoms between the PE and placebo treatment

groups.97 The NDAC notes in its 2023 review of this study that the results “clearly

demonstrate that active treatment was numerically no better than placebo at any

timepoint in the trial” and “the placebo arm had numerically more mean

improvement over the course of the study.”98 Further, the NDAC concluded that “this

study provides high-quality (Level 1) evidence that PE is not an effective nasal

decongestant when administered orally in a 30 mg formulation.” 99

       75.     In addition, the Agency noted a third, additional interim analysis

conducted in 2017-2018 by Defendant Johnson and Johnson Consumer, Inc., in

Canada on subjects with the common cold to evaluate a 30 mg ER oral PE product

taken twice daily, along with a 12 mg IR product taken four times daily. 100 This

analysis was a randomized, double-blind, double-dummy, placebo controlled,

parallel group, which enrolled 193 subjects, although it had planned to enroll 450

subjects; 101 because of this, it was terminated as a study and was designed as an

interim analysis. In addition, this study used nasal symptom scores, not NAR, for its


96
   Id.
97
   Id. at 49.
98
   Id.
99
   Id. at 50.
100
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 51 (2023),
https://www.fda.gov/media/171915/download.
101
    Id.

                                                 32
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           33 of
                                                              3561
                                                                 of PageID:
                                                                    63      33




primary endpoint, thus aligning with the FDA’s modern guidelines. 102 While only

deemed an interim analysis, it was significant in that it demonstrated that oral PE

also had no effect on subjects with colds.103

       76.      All three trials used the clinically acceptable designs and endpoints that

were missing in the original studies considered.

       77.      All three of these trials demonstrate lack of efficacy of IR oral PE doses

up to 40 mg as well as no efficacy of extended-release (“ER”) doses of oral PE up

to 30 mg. As a result, all three of these trials demonstrated that there was no

difference between the effects of a placebo in comparison to either the monographed

dose of oral PE or a higher than monograph dose of oral PE.

       78.      In the NDAC’s 2023 review, the NDAC notes that these studies are

consistent, substantial, and believable and they confirm that orally administered PE

is not effective at any dose that can be developed.104

 September 2023: FDA Advisory Panel Votes 16-0 on Inefficacy of Oral PE as
                                     Nasal Decongestant
       79.      The 2020 CARES Act provides that the CCBAP Monograph may be

amended via a new administrative order process established under Section 505G of

the Food, Drug, and Cosmetic Act (rather than the ANRP process). 105 The NDAC


102
    Id.
103
    Id. at 51-52.
104
    Id. at 42.
105
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 12 (2023),
https://www.fda.gov/media/171915/download.

                                                 33
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           34 of
                                                              3661
                                                                 of PageID:
                                                                    63      34




states this provides a “simplified” process to contemplate changes to the CCBAP

Monograph. 106 The NDAC readily admitted that past changes to the monograph

were delayed by the “time and resources needed to fully review the issues.”

          80.      As a result of the 2015 Citizen’s Petition and the simplified monograph

review process established by the CARES Act, the FDA’s NDAC met on September

11, and 12, 2023.107 As a result of an extensive review of all the relevant material

(as summarized above), the NDAC members voted unanimously (16-0) that orally

administered PE is not effective as a nasal decongestant. 108

          81.      The NDAC’s conclusion was made after extensive review of the

following: (1) the fourteen original clinical trials that were the basis for the FDA’s

approval of PE, (2) the 2007 Citizen’s Petition, (3) the 2007 NDAC meeting and two

meta-analyses presented there, (4) bioavailability data which demonstrated that less

than one percent (<1%) of an oral dose of PE is systemically available, (5) two EEU

studies, (6) three modern clinical studies done since the 2007 NDAC meeting, and

(7) the 2015 Citizen’s Petition. 109

          82.      The NDAC found that this information demonstrated that oral PE is

ineffective as a nasal decongestant, especially after considering the results of the

new data from the three modern studies, the significant methodological and


106
    Id.
107
    Id. at 9-13.
108
    Id. at 9-14.
109
    Id.

                                              34
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           35 of
                                                              3761
                                                                 of PageID:
                                                                    63      35




statistical issues with the design and conduct of the original studies, and the use of

NAR rather than nasal symptom scores as an endpoint.110 The NDAC also noted

that all but one of the original studies evaluated the common cold, not allergy

symptoms; the common cold has significant symptomatic variation between

individuals and is therefore not an efficient barometer to study whether oral PE

provides its stated benefits. 111 In addition, thirteen of the fourteen original studies

evaluated extremely small sample sizes, and no original study controlled for bias or

multiplicity. 112

        83.      The NDAC also noted that ten of the original studies were all from one

sponsor and were small, single-center crossover studies with significant issues; six

of these ten studies formed the basis to support oral PE’s GRASE designation; two

of the single sponsor studies were the most positive and their results were unable to

be replicated. 113

        84.      The NDAC also reviewed the EEU studies presented at the 2007 NDAC

meeting and concluded that in both studies, PE failed to provide any benefit over

placebo, while PSE provided good relief of congestion symptoms in one of the



110
    In 2018, the FDA issued new guidance instructing the industry to use nasal congestion symptom scores, not
NAR, as a primary endpoint to evaluate nasal congestion in studies moving forward. See
https://www.fda.gov/files/drugs/published/Allergic-Rhinitis--Developing-Drug-Products-for-Treatment-Guidance-
for-Industry.pdf.
111
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 32-34 (2023),
https://www.fda.gov/media/171915/download.
112
    Id.
113
    Id. at 32-33.

                                                      35
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           36 of
                                                              3861
                                                                 of PageID:
                                                                    63      36




studies. 114

         85.      The NDAC also reviewed the findings of three large clinical trials since

the 2007 meeting.

         86.       The NDAC concluded that as a result of their evaluation of all the

aforementioned scientific evidence, they believe the new efficacy data outweighs the

outdated data provided for the original Panel’s review, and, along with the modern

clinical trials and data, their evaluation demonstrated that: (1) oral PE at

monographed dosages is not effective as a decongestant, (2) oral doses up to 40 mg

would also not be effective, (3) finding an effective oral dose that is also safe is not

feasible, and (4) an appropriate dosing interval for oral PE has not been established.

Therefore, the Agency concluded that “in addition to lack of efficacy, there may be

no path to evaluating higher doses of oral PE as a nasal decongestant.”115

      IV.      Misbranded/mislabeled and/or Adulterated Drugs are Illegal to Sell
         87.       Drugs in the United States that are not manufactured in accordance

with Current Good Manufacturing Practices (“cGMPs”) are deemed “adulterated”

or “misbranded” and thus many not be distributed or sold in the United States.116




114
     Id. at 32.
115
     Id. at 33.
116
    21 U.S.C. §§ 331(a), 351(a)(2)(B). cGMPs establish “minimum current good manufacturing practice for methods
to be used in, and the facilities or controls to be used for, the manufacture, processing, packing, or holding of a drug
to assure that such drug meets the requirements of the act as to safety, and has the identity and strength and meets
the quality and purity characteristics that it purports or is represented to possess.” 21 C.F.R. § 210.1(a).

                                                           36
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           37 of
                                                              3961
                                                                 of PageID:
                                                                    63      37




States have similar laws adopting or mirroring these federal standards. Defendants,

as manufacturers of oral PE products sold OTC, are bound by these requirements.

            88.      Oral PE products are OTC drug products regulated by the FDA and

thus would be required to meet specified safety, quality, purity, identity and strength

standards.117 The FDA has worldwide jurisdiction to enforce these regulations if the

facility is making drugs intended to be distributed in the United States.

            89.      Defendants’ oral PE products are “adulterated” as defined by the Food,

Drug and Cosmetic Act (“FDCA”) because they are a “drug” and the “methods used

in, or the facilities or controls used for, its manufacture, processing, packing, or

holding do not conform to or are not operated or administered in conformity with

current good manufacturing practice to assure that such drug meets the requirements

of this chapter as to safety and has the identity and strength, and meets the quality

and purity characteristics, which it purports or is represented to possess.”

(emphasis added).

            90.      Because Defendants’ oral PE products do not have the identity and

strength claimed, its products cannot be distributed or sold in the United States under

federal law.




117
      21 U.S.C. § 351(a)(2)(B).

                                                37
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           38 of
                                                              4061
                                                                 of PageID:
                                                                    63      38




             91.      A drug is considered “misbranded” if: “its labeling is false or

misleading in any particular….” 118 The manufacture and sale of misbranded drugs

is prohibited under federal law, as is the introduction of any misbranded product into

the stream of interstate commerce.

             92.      Because Defendants’ oral PE products do not provide the stated nasal

decongestion health benefits as labeled on its oral PE products, its products are

misbranded and are in violation of federal law.

             93.      Plaintiff’s reference to federal law in this Complaint is to demonstrate

that its state law tort claims do not impose additional obligations on Defendants

beyond what they are already required to comply with under federal law for the

distribution of oral PE products.

        V.         The Impact of Defendants’ Wrongful Conduct
             94.      Despite   clinical   studies    demonstrating    oral   PE    Products’

ineffectiveness, Defendants conveyed and continue to convey one uniform nasal

congestion relief health message: that oral PE Products are nasal decongestion over-

the-counter medicines capable of providing nasal decongestion health benefits.

             95.      As the manufacturer of the oral PE Products, Defendants possess

specialized knowledge regarding their content and effects of their ingredients, and

Defendants are in a superior position to know whether the oral PE Products’ work as



118
      21 U.S.C. § 352(a)(1).

                                                 38
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           39 of
                                                              4161
                                                                 of PageID:
                                                                    63      39




advertised.

      96.     Specifically, Defendants knew, but failed to disclose, or should have

known, that the oral PE Products cannot provide nasal decongestion health benefits,

and that well-conducted clinical studies have found the oral PE Products’ primary

ingredients are unable to support or benefit nasal decongestion.

      97.     Plaintiff and the class members have been and will continue to be

deceived or misled by Defendants’ false and deceptive nasal decongestion health

representations.

      98.     Defendants’ nasal decongestion health representations and omissions

were a material factor in influencing Plaintiffs and the class members’ decision to

purchase the oral PE Products. In fact, the only purpose for purchasing the oral PE

Products is to obtain the represented nasal decongestion health benefits.

      99.     Defendants’ conduct has injured Plaintiffs and the class members

because Defendants’ oral PE Products are worthless and cannot support or benefit

nasal decongestion health in any way.

      100. Had Plaintiffs and the class members known the true nature of

Defendants’ oral PE Products, they would not have purchased the oral PE Products

and would not have paid the prices they paid for the oral PE Products.

      101. Plaintiffs and each class member were harmed by purchasing

Defendants’ oral PE Products because they are not capable of providing their


                                         39
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           40 of
                                                              4261
                                                                 of PageID:
                                                                    63      40




advertised benefits. As a result, Plaintiffs and each class member lost money and

property by way of purchasing Defendants’ ineffective and worthless nasal

decongestion over-the-counter medicines.

                 CLASS DEFINITION AND ALLEGATIONS

      102. Plaintiffs, pursuant to Fed. R. Civ. Pro. 23(b)(2) and 23(b)(3), bring this

action on behalf of the following Class:

      All persons who purchased in the United States any of Defendants’ oral PE
      Products for personal or household use.

      103. Excluded from the Class is Defendants, its parents, subsidiaries,

affiliates, officers, and directors, those who purchased the oral PE Products for

resale, all persons who make a timely election to be excluded from the Class, the

judge to whom this case is assigned and any immediate family members thereof, and

those who assert claims for personal injury.

      104. Plaintiffs reserve the right to amend the definition of the Class if

discovery or further investigation reveals that the Class should be expanded or

otherwise modified.

      105. Plaintiffs, pursuant to Fed. R. Civ. Pro. 23(b)(2) and 23(b)(3), also bring

this action on behalf of the following Subclass:

      California Subclass

      All persons who purchased in the state of California any of Defendants’ oral
      PE Products for personal or household use.


                                           40
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           41 of
                                                              4361
                                                                 of PageID:
                                                                    63      41




      106. Excluded from the Subclass are Defendants, its parents, subsidiaries,

affiliates, officers, and directors, those who purchased the PE Products for resale, all

persons who make a timely election to be excluded from the Class, the judge to

whom this case is assigned and any immediate family members thereof, and those

who assert claims for personal injury.

      107. Certification of Plaintiffs’ claims for class wide treatment is appropriate

because Plaintiffs can prove the elements of their claims on a class wide basis using

the same evidence as would be used to prove those elements in individual actions

alleging the same claims.

      108. Numerosity – Federal Rule of Civil Procedure 23(a)(1). The

members of the Class are so numerous that individual joinder of all Class members

is impracticable. Defendants has sold many thousands of units of the oral PE

Products to Class members.

      109. Commonality and Predominance – Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3). This action involves common questions of law and fact,

which predominate over any questions affecting individual Class members.

Specifically, whether Defendants’ representations regarding its oral PE Products and

their health benefits are misleading and deceptive is a question common to the Class.

Similarly, oral PE Products are either capable of providing nasal decongestive health

benefits or they are not, and Defendants’ uniform representation that oral PE


                                          41
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           42 of
                                                              4461
                                                                 of PageID:
                                                                    63      42




Products are OTC medicines capable of providing nasal decongestive health benefits

either is true or false. These questions and others like them are common to the Class

and predominate over individual issues.

      110. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’

claims are typical of the other Class members’ claims because, among other things,

all Class members were comparably injured through the uniform prohibited conduct

described above.

      111. Adequacy of Representation – Federal Rule of Civil Procedure

23(a)(4). Plaintiffs are adequate representatives of the Class because Plaintiffs’

interests do not conflict with the interests of the other Class members Plaintiffs seek

to represent; Plaintiffs have retained counsel competent and experienced in complex

commercial and class action litigation; and Plaintiffs intend to prosecute this action

vigorously. The interests of the Class members will be fairly and adequately

protected by Plaintiffs and their counsel.

      112. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class

action is superior to any other available means for the fair and efficient adjudication

of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class members are relatively small compared to the

burden and expense that would be required to individually litigate their claims


                                             42
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           43 of
                                                              4561
                                                                 of PageID:
                                                                    63      43




against Defendants, so it would be impracticable for Class members to individually

seek redress for Defendants’ wrongful conduct. Even if Class members could afford

individual litigation, the court system could not. Individualized litigation creates a

potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and the court system. By contrast, the class action device

presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

                                CLAIMS ALLEGED

                                     COUNT I
                            Breach of Express Warranty
      113. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      114. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar warranty laws as

applied to the facts of this case, or, in the alternative, on behalf of the Subclass.

      115. Defendants, by affirmation of fact and/or promises set forth in its

promotions, advertisements, packaging and/or labeling for oral PE Products created

an express warranty that oral PE Products would conform to the affirmation and/or

promises.

      116. The affirmations of fact and/or promises made by Defendants on the

oral PE Products’ labels and advertising, which related to the health benefits of oral
                                           43
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           44 of
                                                              4661
                                                                 of PageID:
                                                                    63      44




PE Products, are express warranties, became part of the basis of the bargain, and are

part of a standardized contract between Plaintiffs and the members of the Class on

the one hand and Defendants on the other.

      117. Plaintiffs and the Class members performed all conditions precedent

under the contract between the Parties.

      118. Defendants are in privity with Plaintiffs and members of the Class.

Plaintiffs and Class members, not the retailers, were the intended beneficiaries of

Defendants’ products and the associated written warranties. Defendants created the

advertising and labeling at issue for oral PE Products and warranted the products to

Plaintiffs and members of the Class directly and/or through the doctrine of agency.

Defendants’ sale of the oral PE Products was either direct or through authorized

sellers. Purchase through authorized sellers is sufficient to create privity because

such authorized sellers are Defendants’ agents for the purpose of the sale of the

products. Further, Defendants knew the identity, purpose and requirements of

Plaintiffs and members of the Class and manufactured the oral PE Products to meet

their requirements.

      119. Defendants breached the terms of the express warranty between the

Parties including the express warranties related to the benefits of oral PE with

Plaintiffs and the Class by not providing the oral PE Products in a manner that

conformed to the affirmations and/or promises.


                                          44
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           45 of
                                                              4761
                                                                 of PageID:
                                                                    63      45




      120. Defendants’ breach of this express warranty has directly and

proximately caused Plaintiffs and members of the Class to suffer damages in the

amount of the purchase price of the oral PE Products.

      121. Within a reasonable time of discovering the breach of express warranty

by Defendants, Plaintiffs through counsel notified Defendants of the breach of

warranty.

                                         COUNT II
                                    Unjust Enrichment
               (On Behalf of a Multistate Class or the State Subclasses)
      122. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      123. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar unjust enrichment

laws as applied to the facts of this case, or, in the alternative, on behalf of the

Subclass.

      124. As a direct and proximate result of its misrepresentations concerning

the health benefits of the oral PE Products and its failure to disclose that oral PE

products are ineffective in providing the advertised nasal decongestion health

benefits, Defendants has profited through the sale of its oral PE Products to Plaintiffs

and Class members.



                                          45
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           46 of
                                                              4861
                                                                 of PageID:
                                                                    63      46




      125. Defendants’ unlawful and wrongful acts, as alleged above, enabled

Defendants to unlawfully receive money from Plaintiffs and the Class it would not

have otherwise obtained.

      126. Plaintiffs and the Class members have conferred benefits on

Defendants, which Defendants have knowingly accepted and retained.

      127. Defendants’ retention of the benefits conferred by Plaintiffs and the

Class members would be against fundamental principles of justice, equity, and good

conscience.

      128. Plaintiffs and the Class members seek to disgorge Defendants’

unlawfully retained money resulting from their unlawful conduct and seek restitution

and rescission for the benefit of Plaintiffs and the Class members.

      129. Plaintiffs and the Class members are entitled to the imposition of a

constructive trust upon Defendants, such that its unjustly retained money is

distributed equitably by the Court to and for the benefit of Plaintiffs and the Class

members.

                                       COUNT III
                              Negligent Misrepresentation
               (On Behalf of a Multistate Class or the State Subclasses)
      130. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.



                                         46
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           47 of
                                                              4961
                                                                 of PageID:
                                                                    63      47




      131. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar negligent

misrepresentation laws as applied to the facts of this case, or, in the alternative, on

behalf of the Subclass.

      132. Defendants represented to Plaintiffs and the other members of the Class

that oral PE Products will relieve nasal congestion or its symptoms. These

representations were made by Defendants in its advertising, packaging and labeling

for oral PE Products disseminated to Plaintiffs and the other members of the Class

prior to their purchases of oral PE Products.

      133. These representations of the health benefits oral PE Products provide

were false and misleading because the scientific evidence demonstrates oral PE

Products and their ingredients are incapable and do not provide the advertised nasal

decongestion health benefits.

      134. Defendants represented that the above-identified facts that oral PE

Products will relieve nasal congestion or its symptoms were true when it had no

reasonable grounds for believing them to be true.

      135. Defendants       made    the   representations    concerning    the   nasal

decongestion health benefits of oral PE Products with the intent to induce Plaintiffs

and the other members of the Class to purchase oral PE Products.




                                          47
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           48 of
                                                              5061
                                                                 of PageID:
                                                                    63      48




      136. Plaintiffs and the other members of the Class believed that Defendants’

representations as to the health benefits of taking oral PE Products were true and

materially complete and did not know of the falsity of the representations. In reliance

on Defendants’ representations and in belief the representations were materially

complete, Plaintiffs and the other members of the Class purchased oral PE Products

and have been damaged in an amount to be determined at trial.

                                         COUNT IV
                                            Fraud
                (On Behalf of a Multistate Class or the State Subclasses)
      137. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      138. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar common law

fraud laws as applied to the facts of this case, or, in the alternative, on behalf of the

Subclass.

      139. As      alleged    herein,    Defendants     knowingly      made     material

misrepresentations and omissions regarding PE Products in its advertisements,

labeling and packaging for oral PE Products.

      140. Defendants made these material misrepresentations and omissions in

order to deceive Plaintiffs and Class members into purchasing oral PE Products.



                                           48
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           49 of
                                                              5161
                                                                 of PageID:
                                                                    63      49




      141. Defendants knew that its representations concerning the health benefits

of oral PE Products made to Plaintiffs and the Class were false and untrue at the time

the representations were made, or recklessly made the statements with no belief in

the truth of the statements, but nevertheless made such representations through the

marketing, advertising and oral PE Products’ labeling, including through its

representation on its packaging that its oral PE Products provide “Powerful

Congestion Relief,” assist with nasal decongestion and that Defendants’ oral PE

Products “delivers fast relief for sinus headaches and sinus pain.” In reliance on these

and other similar misrepresentations, Plaintiffs and Class members were induced to,

and did, pay monies to purchase the oral PE Products.

      142. Plaintiffs and Class members did not know—nor could they have

known through reasonable diligence—that oral PE Products does not provide the

advertised nasal decongestion health benefits and is indeed incapable of providing

the claimed benefits.

      143. Plaintiffs and Class members have been reasonable in relying on

Defendants’ misrepresentations and omissions in making their decisions to purchase

oral PE Products.

      144. Had Plaintiffs known the truth about the oral PE Products, including

that they do provide the advertised health benefits, they would not have purchased

the oral PE Products.


                                          49
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           50 of
                                                              5261
                                                                 of PageID:
                                                                    63      50




                                         COUNT V
                  Violation of the New Jersey Consumer Fraud Act
                               N.J.S.A. §§ 56:8-1, et seq.
             (On Behalf of a Multistate Class or the New Jersey Subclass)

      145. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      146. Plaintiffs bring this claim individually, and on behalf of those members

of the Class who purchased oral PE Products in states with state consumer laws that

are similar to the New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq. (the

“NJCFA”) as applied to the facts of this case, or, in the alternative, on behalf of the

California Subclass.

      147. This cause of action is brought pursuant to the New Jersey Consumer

Fraud Act, N.J.S.A. §§ 56:8-1, et seq.

          148.      Section 56:8-2 of the NJCFA provides, in relevant part:

      The act, use or employment by any person of any unconscionable
      commercial practice, deception, fraud, false pretense, false promise,
      misrepresentation, or the knowing, concealment, suppression, or
      omission of any material fact with intent that others rely upon such
      concealment, suppression or omission, in connection with the sale or
      advertisement of any merchandise or real estate, or with the subsequent
      performance of such person as aforesaid, whether or not any person has
      in fact been misled, deceived or damaged thereby, is declared to be an
      unlawful practice . . . .

      149. Plaintiffs, other members of the Class, and Defendants are “persons”

within the meaning of the NJCFA.


                                          50
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           51 of
                                                              5361
                                                                 of PageID:
                                                                    63      51




      150. Plaintiffs and other members of the Class are “consumers” who

purchased “merchandise” – oral PE Products – pursuant to a consumer transaction

for personal use and are, therefore, subject to protection under the New Jersey

Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq.

      151. Defendants conducted trade or commerce within the meaning of the

NJCFA.

      152. The acts, practices, misrepresentations, concealments, and omissions

by Defendants were made in connection with the sale and advertisement of its oral

PE Products and with the intent that others rely upon such concealment, suppression

and omission, and constitute unlawful, deceptive and unconscionable commercial

practices within the meaning of the NJCFA.

      153. Defendants also knowingly concealed, suppressed and consciously

omitted material facts about the inefficacy of oral PE Products to Plaintiffs and other

members of the Class knowing that consumers would rely on the advertisements and

packaging to purchase oral PE Products.

      154. Defendants’ misrepresentations and omissions about oral PE Products

were material and were intended to, and likely to, deceive a reasonable consumer.

      155. As a result of the use and employment by Defendants of the unlawful

acts, Plaintiffs and other Class members have suffered ascertainable losses in the

form of, inter alia, monies spent to purchase oral PE Products, and they are entitled


                                          51
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           52 of
                                                              5461
                                                                 of PageID:
                                                                    63      52




to recover such damages, together with appropriate penalties, including treble

damages, attorneys’ fees and costs of suit pursuant to N.J.S.A. §§ 56:8-2.11, 56:8-

2.12 and 56:8-19. As alleged above, oral PE Products do not provide the advertised

health benefits to the user and, thus, are worthless.

      156. Additionally, pursuant to N.J.S.A. § 56:8-19, Plaintiffs and members of

the Class seek injunctive relief to stop the ongoing deceptive advertising and for a

corrective advertising campaign.

                                        COUNT VI
          Violation of the California Unfair Competition Law (“UCL”)
                     Cal. Bus. & Prof. Code §§17200, et seq.

      157. Plaintiffs incorporates the preceding paragraphs as if fully set forth

herein.

      158. Plaintiff bring this claim individually and on behalf of the Class.

      159. Plaintiffs and Defendants are “persons” within the meaning of the UCL.

Cal. Bus. & Prof. Code §17201.

      160. The UCL defines unfair competition to include any “unlawful, unfair

or fraudulent business act or practice,” as well as any “unfair, deceptive, untrue or

misleading advertising.” Cal. Bus. Prof. Code §17200.

      161. In the course of conducting business, Defendants committed unlawful

business practices by, among other things, making the representations (which also

constitutes advertising within the meaning of §17200) and omissions of material

                                          52
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           53 of
                                                              5561
                                                                 of PageID:
                                                                    63      53




facts, as set forth more fully herein, and violating Civil Code §§1572, 1573, 1709,

1711, 1770(a)(5), (7), (9) and (16) and Business & Professions Code §§17200, et

seq., 17500, et seq., 21 U.S.C. 343(r)(6), and the common law.

      162. Plaintiffs reserves the right to allege other violations of law, which

constitute other unlawful business acts or practices. Such conduct is ongoing and

continues to this date.

      163. In the course of conducting business, Defendants committed “unfair”

business practices by, among other things, making the implied and express

representations (which also constitute advertising within the meaning of §17200)

and omissions of material facts regarding oral PE Products in its advertising and

labeling, including on the oral PE Products’ packaging, as set forth more fully herein.

There is no societal benefit from false and misleading advertising – only harm.

Plaintiffs and the other Class members paid for a valueless product that is not capable

of conferring the benefits promised. While Plaintiffs and the other Class members

were harmed, Defendants were unjustly enriched by its false misrepresentations and

omissions. As a result, Defendants’ conduct is “unfair,” as it offended an established

public policy. Further, Defendants engaged in immoral, unethical, oppressive, and

unscrupulous activities that are substantially injurious to consumers.

      164. Further, as set forth in this Complaint, Plaintiffs allege violations of

consumer protection, unfair competition, and truth in advertising laws in California


                                          53
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           54 of
                                                              5661
                                                                 of PageID:
                                                                    63      54




and other states, resulting in harm to consumers. Defendants’ acts and omissions

also violate and offend the public policy against engaging in false and misleading

advertising, unfair competition, and deceptive conduct towards consumers. This

conduct constitutes violations of the unfair prong of Business & Professions Code

§§17200, et seq.

      165. There were reasonably available alternatives to further Defendants’

legitimate business interests, other than the conduct described herein. Business &

Professions Code §§17200, et seq., also prohibits any “fraudulent business act or

practice.” In the course of conducting business, Defendants committed “fraudulent

business act or practices” by, among other things, making the implied and express

representations (which also constitute advertising within the meaning of §17200)

and omissions of material facts regarding the oral PE Products in its advertising,

including on the oral PE Products’ packaging and labeling, as set forth more fully

herein. Defendants made the misrepresentations and omissions regarding the

efficacy of its oral PE Products, among other ways, by misrepresenting on each and

every oral PE Products’ packaging and labeling that the oral PE Products are

effective when taken as directed, when, in fact, the representations are false and

deceptive, and the oral PE Products are not capable of conferring the promised health

benefits.

      166. Defendants’ actions, claims, omissions, and misleading statements, as


                                         54
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           55 of
                                                              5761
                                                                 of PageID:
                                                                    63      55




more fully set forth above, were also false, misleading and/or likely to deceive the

consuming public within the meaning of Business & Professions Code §§17200, et

seq.

       167. Plaintiffs and the other members of the Class have in fact been deceived

as a result of their reliance on Defendants’ material representations and omissions,

which are described above. This reliance has caused harm to Plaintiffs and the other

members of the Class, each of whom purchased Defendants’ oral PE Products.

Plaintiffs and the other Class members have suffered injury in fact and lost money

as a result of purchasing the oral PE Products and Defendants’ unlawful, unfair, and

fraudulent practices.

       168. Defendants knew, or should have known, that its material

misrepresentations and omissions would be likely to deceive and harm the

consuming public and result in consumers making payments to Defendants for oral

PE Products that are valueless and that are incapable of actually supporting,

maintaining, improving or benefiting nasal decongestion health.

       169. As a result of its deception, Defendants were unjustly enriched by

receiving payments from Plaintiffs and the Class in return for providing Plaintiffs

and the Class, the oral PE Products that do not perform as advertised.

       170. Unless restrained and enjoined, Defendants will continue to engage in

the unlawful, unfair and fraudulent conduct described herein.


                                         55
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           56 of
                                                              5861
                                                                 of PageID:
                                                                    63      56




      171. Accordingly, Plaintiffs, individually and on behalf of all others

similarly situated, and on behalf of the general public, seeks restitution from

Defendants of all money obtained from Plaintiffs and the other members of the Class

collected as a result of Defendants’ unfair competition, and awarding all other relief

this Court deems appropriate.

                                    COUNT VII
    Violation of the California Consumers Legal Remedies Act (“CLRA”)
                          Cal. Civ. Code §§1750, et seq.

      172. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      173. Plaintiffs bring this claim individually and on behalf of the Class.

      174. Plaintiffs are “consumer(s),” and Defendants are a “person,” and the

oral PE Products are “goods” within the meaning of the CLRA. Cal. Civ. Code

§1761(a), (c) and (d).

      175. Defendants’ sale and advertisement of its oral PE Products constitutes

“transactions” within the meaning of the CLRA. Cal. Civ. Code §1761(e).

      176. The CLRA declares as unlawful the following unfair methods of

competition and unfair or deceptive acts or practices when undertaken by any person

in a transaction intended to result, or which results in the sale of goods to any

consumer:


                                         56
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           57 of
                                                              5961
                                                                 of PageID:
                                                                    63      57




      (5) Representing that goods … have . . . approval, characteristics, . . . uses
      [and] benefits . . . which [they do] not have . . . .
      (7) Representing that goods … are of a particular standard, quality or
      grade . . . if they are of another.
      (9) Advertising goods . . . with intent not to sell them as advertised.
      (16) Representing that [goods] have been supplied in accordance with a
      previous representation when [they have] not.
      Cal. Civ. Code §1770(a)(5), (7), (9) and (16).

      177. Defendants violated the CLRA by representing that its oral PE Products

are beneficial for nasal decongestion health, when, in reality, the oral PE Products

cannot provide their advertised benefits and the oral PE Products’ ingredients are

ineffective at improving, supporting, maintaining or benefiting the health of nasal

congestion.

      178. Defendants knew or should have known its health representations were

false and misleading, and that by omitting the ineffectiveness of its oral PE Products

it was omitting a material fact that would alter any consumer’s decision to purchase

the oral PE Products.

      179. Defendants’ violations of the CLRA proximately caused injury in fact

to Plaintiffs and the Class.

      180. Plaintiffs and the Class members purchased Defendants’ oral PE

Products on the belief that they would receive the advertised health benefits from

the oral PE Products. Indeed, no consumer would purchase an oral PE Product unless

he or she believed it was capable of providing meaningful nasal decongestive

benefits.
                                         57
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           58 of
                                                              6061
                                                                 of PageID:
                                                                    63      58




       181. Defendants’ oral PE Products, however, are worthless and cannot

provide any of their advertised benefits. Since the oral PE Products lack any value,

Plaintiffs and each Class member was injured by the mere fact of their purchase.

       182. Pursuant to Cal. Civ. Code §1780, Plaintiffs, individually and on behalf

of the other members of the Class, seek a Court order to enjoin the Defendants’

improper sale and marketing of the PE Products.

       183. Pursuant to Cal. Civ. Code §1782(a), Defendants were notified in

writing by certified mail of the particular violations of Section 1770 of the CLRA,

which notification demanded that Defendants rectify the problems associated with

the actions detailed above and give notice to all affected consumers of Defendants’

intent to so act. Copies of the letters are attached hereto as Exhibits A-D.

       184. If Defendants fail to rectify or agree to rectify the problems associated

with the actions detailed above and give notice to all affected consumers within 30

days of the date of written notice pursuant to §1782 of the Act, Plaintiffs will amend

this claim to seek actual, punitive and statutory damages, as appropriate.

       185. Defendants’ conduct is fraudulent, wanton, and malicious.

       186. Pursuant to §1780(d) of the Act, attached hereto as Exhibit E is the

affidavit showing that this action has been commenced in the proper forum.

                                   JURY DEMAND
       187. Plaintiffs demands a trial by jury of all claims in this Complaint so
triable.
                                          58
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           59 of
                                                              6161
                                                                 of PageID:
                                                                    63      59




                              REQUEST FOR RELIEF
      WHEREFORE, Plaintiffs, individually and on behalf of the other members of

the proposed Class, respectfully requests that the Court enter judgment in Plaintiffs’

favor and against Defendants as follows:

         A. Declaring that this action is a proper class action, certifying the Class

   as requested herein, designating Plaintiffs as Class Representatives and

   appointing the undersigned counsel as Class Counsel;

         B. Ordering restitution and disgorgement of all profits and unjust

   enrichment that Defendants obtained from Plaintiffs and the Class members as a

   result of Defendants’ unlawful, unfair and fraudulent business practices;

         C. As to the CLRA claim, Plaintiffs seek an order enjoining Defendant’s

   improper sale and marketing of the PE products;

         D. Ordering actual, treble, statutory and punitive damages;

         E. Ordering Defendants to pay attorneys’ fees and litigation costs to

   Plaintiffs and the other members of the Class;



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                                           59
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           60 of
                                                              6261
                                                                 of PageID:
                                                                    63      60




        F. Ordering Defendants to pay both pre- and post-judgment interest on any

  amounts awarded; and

        G. Ordering such other and further relief as may be just and proper.




Dated: September 29, 2023                Respectfully submitted,


                                         By: /s/Todd D. Carpenter


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                                       60
Case 3:23-cv-20816-GC-RLS
       Case MDL No. 3089 Document
                          Document199-3
                                   1 Filed
                                         Filed
                                           09/29/23
                                               10/19/23
                                                      Page
                                                         Page
                                                           61 of
                                                              6361
                                                                 of PageID:
                                                                    63      61




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                                      61
